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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                BOWLING GREEN DIVISION
                            CIVIL ACTION NO. 1:16-CV-00018-GNS

JONNA FREEMAN                                                                           PLAINTIFF


v.


EASY MOBILE LABS, INC.                                                                DEFENDANT


                          MEMORANDUM OPINION AND ORDER

        This matter is before the Court on Plaintiff’s Motion for Conditional Certification (DN 4)

and Defendant’s Motion to Dismiss or, in the Alternative Stay and Compel Arbitration (DN 6).

For the reasons stated below, the Defendant’s motion is GRANTED and Plaintiff’s motion is

DENIED.

                                     I.      BACKGROUND

        This action is brought to recover unpaid compensation in the form of unpaid wages and

overtime allegedly owed to Plaintiff Jonna Freeman (“Freeman”) and other similarly situated

persons who are phlebotomists working more than forty hours during one or more weeks of their

employment and paid under the per-mile pay policy of Defendant Easy Mobile Labs, Inc.

(“EML”). (Compl. ¶¶ 4-35, DN 1; Pl.’s Mot. for Conditional Certification 1, DN 4 [hereinafter

Pl.’s Mot.]). Freeman claims she was underpaid by EML and other similarly situated employees

working under the per-mile pay policy at EML exist as to certify a class action.1 (Pl.’s Mot. 1-2).



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  EML did not file a response to Freeman’s motion. Instead, EML moved to dismiss Plaintiff’s
claims or compel arbitration. (Def.’s Mot. to Dismiss or, in the Alternative, Compel Arbitration,
DN 6 [hereinafter Def.’s Mot.]. While not formally responding to Freeman’s motion, Defendant
appears to rebut Freeman’s petition for conditional class certification in its reply in support of its
motion to dismiss. (Def.’s Reply to Mot. to Dismiss 2-4, DN 11).
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EML has moved for dismissal or to compel arbitration pursuant to Plaintiff’s contract of

employment with EML.

                                    II.     JURISDICTION

       This action arises under the laws of the United States and the Court has jurisdiction

pursuant to 28 U.S.C. § 1331.

                                     III.    DISCUSSION

       A.      EML’s Motion to Dismiss or Compel Arbitration

       In ruling on a motion to compel arbitration, courts apply the summary judgment standard

in Fed. R. Civ. P. 56(c). See Arnold v. Rent-a-Center, Inc., No. 11-18-JBC, 2011 WL 1810145,

at *2 (E.D. Ky. May 12, 2011) (“This court will treat the motion to compel arbitration as one for

summary judgment . . . .”); Weddle Enters., Inc. v. Treviicos-Soletanche, J.V., No. 1:14CV-

00061-JHM, 2014 WL 5242904, at *2 (W.D. Ky. Oct. 15, 2014) (“A motion to dismiss based on

the existence of a valid arbitration agreement is not evaluated under the usual Fed. R. Civ. P.

12(b)(6) standard.   Instead, courts apply the standard applicable to motions for summary

judgment.” (internal citation omitted) (citation omitted)). “In order to show that the validity of

the agreement is in issue, the party opposing arbitration must show a genuine issue of material

fact as to the validity of the agreement to arbitrate.” Great Earth Cos. v. Simons, 288 F.3d 878,

889 (6th Cir. 2002) (internal quotation marks omitted) (internal citation omitted) (citation

omitted).

       Freeman does not dispute she signed an at-will employment agreement (the

“Agreement”) with EML and that the Agreement contained an arbitration provision. (Def.’s

Mot. to Dismiss or, in the Alternative, Stay and Compel Arbitration Ex. A, DN 6-1) [hereinafter

Agreement]). Similarly, Freeman does not dispute the validity of the Agreement or that the



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Agreement requires arbitration before the Court can exercise jurisdiction in this matter. Instead,

Freeman contends that the Agreement is not applicable because she is subject to an exemption to

the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1-16. (Pl.’s Resp. to Mot. to Dismiss or, in the

Alternative, Stay & Compel Arbitration 1-4, DN 10).           The FAA exempts “contracts of

employment of seamen, railroad employees, or any other class of workers engaged in foreign or

interstate commerce.” 9 U.S.C. § 1. The Supreme Court has found that the FAA excludes from

its coverage contracts of employment for transportation workers. See Circuit City Stores, Inc. v.

Adams, 532 U.S. 105, 109 (2001). The Sixth Circuit has determined, however, that the Section 1

exception applies only to employees “engaged in the movement of goods in interstate commerce

in the same way that seamen and railroad workers are.” Asplundh Tree Expert v. Bates, 71 F.3d

592, 600-01 (6th Cir. 1995).

       While Freeman claims she travelled across state lines in the course of her employment as

a phlebotomist, she makes no claim this was a routine part of her job much less that she

transported goods in a similar fashion to a seaman or a railroad worker. Freeman relies heavily

on a sister court’s decision in O’Neal v. Kilbourne Medical Laboratories Incorporated, No. 05-

50, 2007 WL 956428 (E.D. Ky. Mar. 28, 2007), to establish that she should be exempt from the

FAA under Section 1. This reliance is misguided. O’Neal involved an interstate commerce

exemption for overtime payments under the Motor Carrier’s Act (“MCA”), rather than the

Section 1 exemption from arbitration under the FAA. See O’Neal, 2007 WL 956428, at *10-11.

The Section 1 exemption has been found to apply only to transportation workers with

employment duties directly related to interstate commerce. See Circuit City Stores, 532 U.S. at

109; Hill v. Rent-A-Center, Inc., 398 F.3d 1286, 1289 (11th Cir. 2005) (citations omitted).




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Unlike the MCA, the Section 1 exception of the FAA does not apply to workers who have job

duties involving incidental interstate travel, as appears to be the case here. 2 See id.

        In the case sub judice, Freeman has not alleged she has routinely engaged in interstate

commerce while working for EML. Instead, she simply states that she conducted work in

“various locations” and worked for EML in Kentucky, Georgia, and Tennessee. (Compl. ¶¶ 4,

9). Freeman has not alleged how many times she was required to travel across state lines in her

employment and has provided no facts which indicate this occurred on a regular or even part

time basis. She certainly has not claimed to have been engaged in interstate transportation of

goods within the meaning of Section 1. See Asplundh Tree Expert, 71 F.3d at 600-01. Instead,

transportation across state lines appears to have been an incidental part of her employment duties

and is therefore outside of the scope of Section 1. See Hill, 398 F.3d at 1289. Therefore, the

Court will dismiss this action and compel arbitration under the Agreement.

        B.     Plaintiff’s Motion for Conditional Class Certification

        As the Court finds arbitration necessary in this case, Freeman’s Motion for Conditional

Class Certification is hereby denied.       This ruling is consistent with sister courts in this

jurisdiction which have declined to rule on class certification when the lead plaintiff’s claim is

found to be arbitrable. See Hilton v. Midland Funding LLC, No. 15-10322, 2016 WL 1253273,

at *7 (E.D. Mich. Mar. 31, 2016), appeal docketed, No. 16-1556 (6th Cir. May 2, 2016); Stevens-

Bratton v. TruGreen, Inc., No. 2:15-cv-2472-STA-tmp, 2016 WL 155087, *8 (W.D. Tenn. Jan.

12, 2016), appeal docketed, No. 16-5161 (6th Cir. Feb. 10, 2016). Certification is a two-step

process, and the second step can only begin once discovery has concluded. See Comer v. Wal-



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  The MCA might very well go to the substance of Freeman’s case—i.e., whether she is entitled
to overtime pay. The Court finds the MCA is irrelevant, however, regarding the issue of whether
Freeman is excepted from arbitration under Section 1 of the FAA.
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Mart Stores, Inc., 454 F.3d 544, 546-47 (6th Cir. 2006) (internal quotation marks omitted). No

civil discovery will be conducted since this matter is be arbitrated, so there will be no second

step. Further, members of the proposed class who did not sign an arbitration agreement cannot

be represented by Freeman in a class action because Freeman is not a similarly situated to such

other potential claimants. See id. Thus, Freeman’s motion will be denied.

                                    IV.    CONCLUSION

       For the foregoing reasons, IT IS HEREBY ORDERED that:

       1)     Defendant’s Motion to Dismiss and, in the Alternative, Stay and Compel

              Arbitration (DN 6) is GRANTED. In lieu of staying the proceedings, this case is

              DISMISSED WITHOUT PREJUDICE to the parties’ right to move to re-open

              this case for entry of an arbitration award or for any other relief to which the

              parties may be entitled.

       2)     Plaintiff’s Motion for Conditional Class Certification (DN 4) is DENIED.




                                                         Greg N. Stivers, Judge
                                                       United States District Court
                                                               August 24, 2016


cc:    counsel of record




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